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                    Exhibit L
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                                                                                Page 1
 1         IN THE UNITED STATES DISTRICT COURT
 2      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 3

 4   UNITED STATES OF AMERICA, CALIFORNIA,                          )
 5   COLORADO, CONNECTICUT, DELAWARE, DISTRICT )
 6   OF COLUMBIA, FLORIDA, GEORGIA, HAWAII,                         )
 7   ILLINOIS, INDIANA, IOWA, LOUISIANA,                            )
 8   MARYLAND, MASSACHUSETTS, MICHIGAN,                             )
 9   MINNESOTA, MONTANA, NEVADA, NEW JERSEY,                        )
10   NEW MEXICO, NEW YORK, NORTH CAROLINA,                          )
11   OKLAHOMA, RHODE ISLAND, TENNESSEE, TEXAS, )
12   VIRGINA, WISCONSIN,                                            )
13   Ex Rel.   CATHLEEN FORNEY                                      )
14        Plaintiffs,                                               ) Civil Action No.
15               -v-                                                ) 5:15-cv-6264-EGS
16   MEDTRONIC INC.,                                                )
17        Defendant.                                                )
18    ------------------------------------------
19        VIDEOTAPED DEPOSITION OF CATHLEEN FORNEY
20                Lancaster, Pennsylvania
21               Tuesday, November 14, 2017
22

23    Reported by:
      Gail L. Inghram Verbano,
24    BA, CRR, CLR, RDR, CSR-CA (No. 8635)
      Job No. 133496
25



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                                                                          Page 2
 1                        November 14, 2017
 2                              9:08 a.m.
 3

 4

 5

 6

 7                  Videotaped deposition of CATHLEEN
 8   FORNEY, held at the offices of BARLEY SNYDER,
 9   LLC, 126 East King Street, Lancaster,
10   Pennsylvania, before GAIL INGHRAM VERBANO,
11   Registered Diplomate Reporter, Certified
12   Realtime Reporter, Certified Shorthand
13   Reporter-CA (No. 8635) and Notary Public in and
14   for the Commonwealth of Pennsylvania.
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                                                                           Page 3
 1

 2

 3   A P P E A R A N C E S:
 4

 5         Attorneys for Plaintiffs:
 6         LAW OFFICES OF SUSAN L. BURKE
 7                 1611 Park Avenue
 8                 Baltimore, Maryland 21217
 9         BY:     SUSAN BURKE, ESQ.
10

11

12

13

14         Attorneys for Defendants:
15         ROPES & GRAY
16                 Prudential Tower
17                 800 Boylston Street
18                 Boston, Massachusetts, 02199
19         BY:     KIRSTEN MAYER, ESQ.
20                 MITCHELL STROMBERG, ESQ.
21

22

23   ALSO PRESENT:
24                 KATHRYN WOZNY, In-House Counsel, Medtronic
25                 ADOLPH GREEN, Legal Videographer

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                                                                         Page 4
 1                     CATHLEEN FORNEY
 2               THE VIDEOGRAPHER:                  This is the start
 3       of tape labeled No. 1 of the videotaped
 4       deposition of Cathleen Forney, in the
 5       matter of Cathleen Forney V. Medtronic,
 6       Inc. in the United States District Court
 7       for the Eastern District of Pennsylvania,
 8       Case No. 5:15-CV-6264-EGS.
 9               This deposition is being held at 126
10       East King Street, Lancaster, Pennsylvania,
11       on November 14th, 2017, at approximately
12       9:08.
13               My name is Adolph Green from TSG
14       Reporting, Inc. and I am the legal video
15       specialist.         The court reporter is Gail
16       Verbano, in association with TSG
17       Reporting.
18               Will counsel please introduce
19       yourselves.
20               MS. MAYER:           Kirsten Mayer for
21       Medtronic.
22               MR. STROMBERG:               Mitchell Stromberg
23       for Medtronic.
24               MS. WOZNY:           Kathryn Wozny on behalf
25       of Medtronic.

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                                                                               Page 5
 1                       CATHLEEN FORNEY
 2                 MS. BURKE:           Susan Burke for relator.
 3                 THE VIDEOGRAPHER:                  Will the reporter
 4         please swear in the witness.
 5                       CATHLEEN FORNEY
 6         called as a witness, having been duly sworn by
 7         a Notary Public, was examined and testified as
 8         follows:
 9   EXAMINATION
10   BY MS. MAYER:
11         Q.      Good morning, Ms. Forney.                       Could you
12   please tell us your full name for the record.
13         A.      Cathleen Forney.
14         Q.      Where do you live?
15         A.      I live at 353 College Avenue,
16   Lancaster, Pennsylvania.
17         Q.      Have you ever been deposed before?
18         A.      I have not been deposed before.
19         Q.      A deposition is -- what we're going
20   to do today in the deposition is I'm going to
21   ask you questions, and you're going to give me
22   answers to the questions.                  To make it easy for
23   the court reporter and the videographer, it's
24   going to be important for you to let me finish
25   my question before you answer the question.

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                                                                           Page 50
 1                        CATHLEEN FORNEY
 2         A.      It was a reduction in force.
 3         Q.      Were you still working between
 4   November 2011 and January 2012?
 5         A.      No.
 6         Q.      Okay.        So your last day working at
 7   Medtronic was at some point in November 2011?
 8         A.      Yes.
 9         Q.      Was it the beginning of the month or
10   toward the end of the month?
11         A.      I'm thinking --
12         Q.      Before or after Thanksgiving?
13         A.      -- it was before.                   Yeah, earlier.
14         Q.      So earlier, first half of the month,
15   approximately.
16                 And you didn't work for anyone in
17   between mid-November, roughly, 2011 and when
18   you started the research coordinator position
19   at LGH in February 2012?
20         A.      Correct.
21         Q.      So in your -- let's turn back to
22   January 2007 to June 2009.                      I think you said
23   you were a continuum manager?
24         A.      Yes.
25         Q.      What is a -- what was a continuum

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                                                                       Page 126
 1                       CATHLEEN FORNEY
 2         permitting the witness and her counsel to
 3         have a lunch break at 1 o'clock.
 4   BY MS. MAYER:
 5         Q.      So in this case you've alleged that
 6   when Medtronic performs a device check, they're
 7   providing a kickback that violates a felony
 8   federal law; correct?
 9         A.      Correct.
10         Q.      And yet you yourself -- sorry,
11   strike that.
12                 When was the first time you came to
13   believe that performing -- that having
14   Medtronic perform a device check was a
15   violation of law?
16         A.      It was a process.
17         Q.      When was the first time that you
18   came to the understanding that it was a
19   violation of law for Medtronic to provide a
20   device check?
21                 MS. BURKE:           Objection; asked and
22         answered.
23                 THE WITNESS:             After I left Medtronic
24         and took time to uncouple from 17 years --
25         almost 17 years of working for a company

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                                                                       Page 127
 1                       CATHLEEN FORNEY
 2         that I embarrassingly trusted everything
 3         they told me to be accurate and
 4         appropriate.          And I was able to step back
 5         and not be in the weeds of day-to-day
 6         exhausting work but look 30,000 feet and
 7         see all the mutually dependent activities
 8         that I had asked -- been asked to perform
 9         or to be trained on so that I could serve
10         customers at a very high, engaged,
11         personal level; and experienced the
12         Medtronic compliance system not work and
13         that districts are given the freedom to
14         conduct business however they want to be
15         successful, I realized that the company I
16         worked for and the work that I performed,
17         that there was a large component that was
18         inappropriate and all conducted ultimately
19         to influence and to secure that
20         quarter's -- as Dave Roberts would say,
21         "the most important quarter ever," the
22         implant numbers that were required of us,
23         and relationships and service helped to
24         sustain business in a changing world.
25   BY MS. MAYER:

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                                                                       Page 128
 1                       CATHLEEN FORNEY
 2        Q.       So was it also after you left
 3   Medtronic that you came to believe that
 4   providing support for implants was also a
 5   felony kickback violation and illegal through
 6   this process that you've just described?
 7        A.       There are some implant procedures
 8   that are extremely mature, over 50 years where
 9   things have not changed, and the technical
10   expertise to conduct them is not what we
11   provide.    It's just helping them belabor to get
12   their job done.
13                 Occasionally there are new products
14   that come out that requires extra, additional
15   skill sets, that the FDA states when a
16   physician might have to do so many implants and
17   then they're signed off, but then they should
18   be technically competent; and it's a rare case
19   that technical expertise is needed to support a
20   successful implant with an experienced implant.
21                 MS. MAYER:           Motion to strike the
22        answer as nonresponsive.
23   BY MS. MAYER:
24        Q.       My question was:                 It was after you
25   left Medtronic --

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                                                                      Page 129
 1                       CATHLEEN FORNEY
 2                 MS. BURKE:           Kirsten --
 3   BY MS. MAYER:
 4        Q.       -- that you went through this
 5   process that you've described for us that you
 6   came to understand in your mind that supporting
 7   implants was illegal; correct?
 8                 MS. BURKE:           Kirsten, you cannot move
 9        to strike an answer.                  You're being
10        argumentative.             We object to you using --
11        even using that term, "motion to strike,"
12        to convey your dissatisfaction with the
13        answer.
14                 And she's already answered the
15        question that you gave.
16                 MS. MAYER:           No more speaking
17        objections.
18                 MS. BURKE:           Then no more motions to
19        strike.
20                 MS. MAYER:           Susan.
21   BY MS. MAYER:
22        Q.       Can you -- do you remember the
23   question?
24        A.       Correct.
25        Q.       Correct?          And it was after you left

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                                                                         Page 130
 1                       CATHLEEN FORNEY
 2   Medtronic and went through this process that
 3   you've discussed that you came to have the
 4   understanding that you now have, that providing
 5   Lean Sigma advice was also illegal; correct?
 6        A.       Correct.
 7        Q.       And the other conduct that you
 8   allege in your complaint, in your First Amended
 9   Complaint and your Second Amended Complaint in
10   this case, that you allege was illegal, you
11   came to understand that the conduct was illegal
12   in your mind all after you left Medtronic;
13   correct?
14        A.       After I uncoupled from Medtronic;
15   correct.
16        Q.       Which was after you left Medtronic?
17        A.       Correct.
18                 MS. MAYER:           We can take a lunch
19        break now.
20                 MS. BURKE:           Hour?
21                 THE VIDEOGRAPHER:                  We are going off
22        the record at 1:07.
23                 (Luncheon recess taken from 1:07
24        p.m. to 2:21 p.m.)
25


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                                                                      Page 153
 1                        CATHLEEN FORNEY
 2   the United States and the Plaintiff States
 3   prior to filing suit under seal other than
 4   those 10 or 12 documents that we just
 5   discussed?
 6        A.       Can you ask that question again,
 7   please.
 8        Q.       Sure.       Did you share any information
 9   with the United States and the Plaintiff States
10   prior to filing suit in this case -- this
11   Complaint, Exhibit 2 -- other than the 10 or 12
12   documents that we just discussed?
13        A.       I did not share anything prior.
14        Q.       Okay.       So nothing was shared with
15   the government prior to filing suit; it came
16   after?
17        A.       Perhaps I'm not understanding the
18   question.     I think the documents probably came
19   with the case.
20        Q.       But you -- to the best of your
21   knowledge, you provided information to the
22   United States and Plaintiff States, the 10 to
23   12 documents, after the complaint was filed;
24   right?
25        A.       Yes.

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                                                                      Page 154
 1                        CATHLEEN FORNEY
 2        Q.       Okay.        Did you -- when you shared
 3   the 10 or 12 documents, did you provide any
 4   other information to the United States and
 5   Plaintiff States?
 6        A.       Not to my knowledge.
 7        Q.       Do you have reason to believe that
 8   somebody provided additional information to the
 9   government on your behalf after the Complaint,
10   Exhibit 2, was filed?
11        A.       No.
12        Q.       Did you -- do you know when you
13   provided the 10 or 12 documents to the
14   government?
15        A.       I believe it was submitted in June
16   of 2015.
17        Q.       And why do you believe it was
18   submitted in June of 2015?
19        A.       I -- that's when I recall Susan
20   telling me she was submitting it.
21        Q.       Okay.
22                 MS. BURKE:            I would just caution the
23        witness not to reveal attorney-client
24        communications.
25   BY MS. MAYER:

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                                                                          Page 155
 1                           CATHLEEN FORNEY
 2           Q.       Is that June of 2015 or June of
 3   2016?        Like last year?
 4           A.       2015.
 5           Q.       Okay.     Other than the 10 or 12
 6   documents that we've discussed, have you shared
 7   any additional information about this case with
 8   the government?
 9           A.       I was interviewed one day.
10           Q.       Do you know when that interview
11   occurred?
12           A.       I don't recall.                I think it was the
13   spring.
14           Q.       Of which year?
15           A.       2016.
16           Q.       How long was the interview?
17           A.       Part a day.          I don't recall how many
18   hours.
19           Q.       Was it one hour?
20           A.       My guess is half a day.
21           Q.       Who was present at that interview?
22           A.       I don't recall their names.
23           Q.       Was your counsel with you,
24   Ms. Burke?
25           A.       Yes.

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                                                                           Page 156
 1                        CATHLEEN FORNEY
 2        Q.       Other than the interview and the 10
 3   or 12 documents that you provided in support --
 4   that you provided that we've already discussed,
 5   have you had any other -- have you shared any
 6   other information with the government about
 7   this case?
 8        A.       No.
 9        Q.       What was the substance of the
10   interview with the government?                        You can start
11   with, what were the topics that you discussed
12   with the government?
13                 MS. BURKE:            Object and instruct the
14        witness not to answer.
15                 MS. MAYER:            What's the basis?
16                 MS. BURKE:            That the United States
17        has not been noticed in this deposition,
18        and I believe that the United States has
19        the investigative and deliberative process
20        privilege that attaches to those relator
21        interviews.
22                 MS. MAYER:            Do you represent the
23        United States today, Ms. Burke?
24                 MS. BURKE:            They are the real party
25        in interest, and they are not presently

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                                                                     Page 157
 1                      CATHLEEN FORNEY
 2       represented because they were not -- the
 3       deposition notice was not sent to them.
 4                I do not know what position they
 5       would take, but given their absence and
 6       given they're the real party in interest,
 7       I instruct my witness and my client not to
 8       answer that question.
 9                MS. MAYER:           Are you claiming any
10       attorney-client privilege over that
11       communication?
12                MS. BURKE:           With my client?
13                MS. MAYER:           Yes.
14                MS. BURKE:           Yes.
15                MS. MAYER:           You're claiming that you
16       had an attorney-client privileged
17       communication with your client while the
18       United States was present?
19                MS. BURKE:           I am claiming that the
20       question that you asked seeks to elicit
21       information shared during a meeting with
22       counsel for the United States, and counsel
23       for the United States has the right to
24       assert a privilege to protect that
25       meeting, and I believe we have the right,

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                                                                     Page 158
 1                      CATHLEEN FORNEY
 2       therefore, as well, to assert a privilege
 3       to protect that meeting.
 4                So I'm instructing my client not to
 5       answer.
 6                MS. MAYER:           So I'm trying to
 7       understand what the privilege -- the
 8       nature of the precise privilege is that
 9       you're asserting.               I understand you're
10       asserting on behalf of the United States,
11       who is not your client, a deliberative
12       process privilege.
13                What I'd like to understand, Susan,
14       is whether you are asserting any other
15       privilege.
16                MS. BURKE:           I'm asserting all
17       potential privileges at this point.
18                MS. MAYER:           What's your --
19                MS. BURKE:           As you know, I was not
20       aware until this morning that the United
21       States has not been noticed for this
22       deposition.          The deposition notice, it
23       only came to my attention that it had not
24       been served on the United States, and so I
25       have not had time to -- so I have not had

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                                                                              Page 159
 1                      CATHLEEN FORNEY
 2       time to research all of the potential
 3       privileges.
 4                Normally, what happens is the United
 5       States is noticed, and when they don't
 6       show up, you assume they've waived all
 7       privileges.
 8                We have already asserted a joint
 9       prosecution privilege, and so -- so at
10       this point in time, I'm instructing her
11       not to answer, and I'm asserting all
12       potential privileges to cover that
13       meeting.
14                MS. MAYER:           So I understand your
15       position with respect to the United
16       States' invocation in theory of --
17                MS. BURKE:           Potential.                 Potential
18       invocation.
19                MS. MAYER:           I understand your
20       position with respect to the United
21       States' potential invocation of a joint
22       prosecution privilege, and you've also
23       mentioned a deliberative process
24       privilege.
25                MS. BURKE:           And an investigative

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                                                                     Page 160
 1                      CATHLEEN FORNEY
 2       privilege.
 3                MS. MAYER:           Are you asserting an
 4       attorney-client privilege over the
 5       communication?
 6                MS. BURKE:           Yes.
 7                MS. MAYER:           What's the basis for
 8       asserting an attorney-client privilege
 9       over that interview?
10                MS. BURKE:           The joint prosecution
11       privilege makes the communication a
12       privileged communication.
13                MS. MAYER:           Your position is that if
14       you have a joint prosecution agreement
15       with the United States, that creates an
16       attorney-client privilege over that
17       interview?
18                MS. BURKE:           Well, at this point, I'm
19       not sure what I would assert vis-a-vis --
20       if the United States had waived its
21       privileges had it been noticed and not
22       appeared and those privileges would have
23       been -- and they waived their privileges,
24       I'm not sure that I independently would
25       have asserted a privilege.

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                                                                     Page 161
 1                      CATHLEEN FORNEY
 2                The complexity arises because of the
 3       lack of notice to the United States that
 4       then puts me in a position that I don't
 5       know what the United States will do and/or
 6       what it has done.
 7                So at this point in time, all I can
 8       say is that if they waive the privileges,
 9       I would waive the privileges.
10                MS. MAYER:           But I guess I'm trying
11       to understand, do you believe that,
12       independent of the joint -- the potential
13       joint prosecution privilege, that you have
14       an attorney-client privilege in that
15       interview?
16                MS. BURKE:           It turns -- the
17       privilege -- any privilege that attaches
18       turns on the United States' -- and the
19       United States' invocation of the
20       privilege.         If they don't invoke a
21       privilege, then we won't invoke a
22       privilege.
23                MS. MAYER:           So we served this
24       request for production for all
25       communications with the government in

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                                                                     Page 162
 1                      CATHLEEN FORNEY
 2       September.         And you --
 3                MS. BURKE:           You're now referring
 4       back to Exhibit 1?
 5                MS. MAYER:           I'm referring back to
 6       Exhibit 1, and you responded that you
 7       object because it calls for
 8       attorney-client communications, work
 9       product, joint prosecution, common
10       interest and other applicable privileges;
11       and you did not produce any communications
12       with the government; correct?
13                MS. BURKE:           No, that's not correct.
14       We produced documents that had been
15       provided to the -- to the government.
16                MS. MAYER:           Did you withhold any
17       communications to the government, Susan?
18                MS. BURKE:           The material disclosure
19       and another follow-up submission.
20                MS. MAYER:           And your basis for
21       withholding those was the government's
22       joint prosecution privilege?
23                MS. BURKE:           As you see here, these
24       are the -- with respect to the production
25       of documents, those are all of the

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                                                                     Page 163
 1                      CATHLEEN FORNEY
 2       privileges that we invoked.
 3                MS. MAYER:           Well, but I'm asking you
 4       today whether the joint prosecution and
 5       common interest privilege was the reason
 6       why you didn't produce those.
 7                MS. BURKE:           All the reasons that we
 8       have here are the reasons that we didn't
 9       produce.
10                MS. MAYER:           So your position is that
11       the material --
12                MS. BURKE:           Attorney-client, work
13       product, joint prosecution, common
14       interest privilege and any other
15       applicable privilege, doctrine, immunity,
16       statute, regulation, rule or restriction.
17                MS. MAYER:           And do you believe that
18       anything other than the joint prosecution
19       and common interest privilege protects
20       those communications?
21                MS. BURKE:           I do.
22                MS. MAYER:           Which privileges,
23       independent of those, protect the
24       communications?
25                MS. BURKE:           With all due respect, I

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                                                                            Page 164
 1                      CATHLEEN FORNEY
 2       have not prepared on this issue, and so
 3       there's a lot of case law that speaks to
 4       what has to be turned over and what
 5       doesn't have to be turned over.
 6                I did not review that in
 7       preparation.           This is not an oral
 8       argument.        This is not something where I
 9       came ready to brief our legal position.
10                I'm happy to brief our legal
11       position.        If you want to move to compel,
12       we can brief the legal position.                         I'm not
13       prepared today.              I don't have the case law
14       at the ready, and I didn't come prepared
15       to do this.
16                This is a deposition of a witness.
17       We're making the witness available.                         If
18       you have any questions to her, I suggest
19       you use your time to question the witness,
20       and we can brief these issues later.
21                MS. MAYER:           Did you check -- after
22       receiving this request for production of
23       documents, Susan, did you reach out to
24       attorneys for the United States and the
25       states to check whether they were invoking

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                                                                            Page 165
 1                      CATHLEEN FORNEY
 2       a common interest or joint prosecution
 3       privilege to protect those disclosures?
 4                MS. BURKE:           Ms. Mayer, I'm not the
 5       witness.       I'm not the witness.                      I don't
 6       have to answer your questions on record.
 7                You're here -- if you want to ask
 8       Ms. Forney any questions, let's proceed.
 9       Otherwise, let's take a brief break if you
10       don't have any more questions for the
11       witness -- actually, I would like a bio
12       break at this point.
13                MS. MAYER:           Yes, we can take a
14       break.
15                THE VIDEOGRAPHER:                  We are going off
16       the record at 3:07.
17                (Recess taken from 3:07 p.m. to
18       4:01 p.m.)
19                (Whereupon, a discussion was held
20       between counsel, off the video record, and
21       outside the presence of the witness.)
22                MS. MAYER:           We have discussed the
23       matter of the privilege over Ms. Forney's
24       oral communications with the government in
25       this case, and the agreement we've reached

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                                                                             Page 233
 1                       CATHLEEN FORNEY
 2           Q.    You think it's Chuck.
 3           A.    Yeah.
 4           Q.    Okay.       So it's -- Kay Brotzman says,
 5   "Good morning, Chuck.              We have a pacer check in
 6   the office on November 22 on Delores Neifert,
 7   who is having a general change done.                          Can you
 8   please make sure someone can be here to help us
 9   out?"
10                 Right?        Do you see that?
11           A.    Yeah.
12           Q.    So is this the source of the
13   information in the chart that says patient --
14   in Exhibit 7 on page 19, that says, "Patient
15   DN, Lehigh Valley Cardiology Associates, Pacer
16   check, November 22, 2011"?
17           A.    Say that again.
18           Q.    Sure.       Does -- is the Kay Brotzman
19   to Chuck Mertz email that is screenshotted in
20   Exhibit 88, page 01421 the source for your
21   allegation on page 19 of the Second Amended
22   Complaint, Exhibit 7, that patient DN at Lehigh
23   Valley Cardiology Associates had a Pacer check
24   on November 22, 2011?
25           A.    No, these are two different items.

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                                                                           Page 234
 1                       CATHLEEN FORNEY
 2        Q.       Okay.       So what -- you said the
 3   source for the --
 4        A.       So --
 5        Q.       -- information in this chart is
 6   not --
 7        A.       -- this is the Pacer chart.                      This
 8   would have come off the Google Calendaring
 9   system, where this is the email.
10        Q.       Okay.
11        A.       So this individual -- oh, wait,
12   maybe it is.      Hold on.           She had a gen change.
13   So maybe in this case, it initiated with an
14   email, and then it got put on the calendar --
15   calendaring system, and this here looks like
16   it's more off the calendaring system.                         But this
17   would have been the request.
18        Q.       Do you remember --
19                 MS. BURKE:           And let the record
20        reflect that "this here" the witness is
21        referring to Exhibit 7, page 19.
22   BY MS. MAYER:
23        Q.       Okay.       So turn to page 01422 of
24   Exhibit 8.
25        A.       Wait, which is Exhibit 8?

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                                                                        Page 235
 1                        CATHLEEN FORNEY
 2        Q.       The --
 3        A.       Email?
 4        Q.       -- Gmail account document.
 5        A.       01428?
 6        Q.       01422.        It's the next page.
 7        A.       Oh, the next page, okay.
 8        Q.       This -- and the screenshot, the top
 9   screenshot email, is an email from Cathy Jo
10   Leiby to me.      Do you see that?
11        A.       Yeah.
12        Q.       And it says in the body of the
13   email, "I know Dave spoke to you regarding
14   Elsie Hilbert; they've decided they would like
15   her device interrogated sometime today.                       She is
16   in room 450 at St. Luke's Allentown."
17        A.       Uh-huh.
18        Q.       And the date of this email is a
19   little hard to see, but it looks like it's
20   11/16.
21        A.       Yes.
22        Q.       And if you look on Exhibit 7, the
23   Second Amended Complaint, right below the line
24   about patient DN is a line about patient EH,
25   St. Luke's Allentown, interrogation of device,

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                                                                         Page 236
 1                        CATHLEEN FORNEY
 2   November 16h, 2011.
 3           A.    Uh-huh.
 4           Q.    But this email wasn't the source of
 5   your information on this?
 6           A.    This email could be the source.                   And
 7   like I shared, then it would be put on the
 8   calendar.     So there's two places you can pull a
 9   source from.
10           Q.    And do you remember which you pulled
11   this from or --
12           A.    I don't recall exactly which one.
13           Q.    Okay.       Okay.
14           A.    But it's double-sourced.
15           Q.    Okay.       Do you know for sure it's in
16   both, or you just recall that?
17           A.    We can look at some of the other
18   documents or pictures of the calendars, and
19   that would confirm.
20           Q.    Okay.       If you turn to the next page
21   in Exhibit 8 which is REL-01423, do you see
22   that?
23           A.    Yep.
24           Q.    It's a "Google Voice, to me."                   And
25   it's a voicemail that makes reference to Lehigh

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                                                                      Page 237
 1                        CATHLEEN FORNEY
 2   Valley Heart Specialists and a patient called
 3   Michael Boyle?
 4        A.       Correct.
 5        Q.       And then you see the line below,
 6   patient EH on page 19 of Exhibit 7 refers to a
 7   patient MB and Lehigh Valley Cardiology
 8   Associates.
 9                 Is this voicemail the source of that
10   allegation in the complaint?
11        A.       Per my prior response, it could be
12   this email.      Also it could be confirmed on a
13   calendar.
14                 MS. MAYER:           Okay.         Can we mark
15        another exhibit?              This is Exhibit 9.
16                 (Forney Exhibit 9, Pictures of
17        Patient Information Posted to Google
18        Calendaring 11.11.11, Bates REL-1666 TO
19        1772, was marked for identification.)
20   BY MS. MAYER:
21        Q.       I'm showing you what has been marked
22   as Exhibit 9.        Do you recognize this?
23        A.       Yes.
24        Q.       What is it?
25        A.       These are pictures from Google

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                                                                        Page 238
 1                        CATHLEEN FORNEY
 2   Calendar system.
 3        Q.       And did you produce this to the
 4   government?
 5        A.       Yes.
 6        Q.       Do you -- how would I look through
 7   this printout to try to find reference to the
 8   events that you listed on page 19 of the second
 9   amended complaint, Exhibit 7?
10        A.       I'm not sure if --
11        Q.       I will tell you, I haven't been able
12   to find them.
13        A.       -- they all got copied.
14                 But I would say a sample could be
15   here where I would open up an event and then
16   the details would populate.                    So you may not be
17   able to see it from this higher level, but if
18   there's a picture of an event that's open,
19   that's how you could read the details.
20        Q.       So if I wanted to try to find
21   "Patient DN, Pacer check with Lehigh Valley
22   Cardiology Associates on November 22, 2011,"
23   should I be looking for these opened windows
24   like we see on REL-01667 of Exhibit 9 that has
25   notes about an ICD reprogramming for a

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                                                                      Page 239
 1                        CATHLEEN FORNEY
 2   G. Witmer?     I should be looking for something
 3   like that for a patient DN?
 4           A.    Yeah, it's hard to read the details.
 5                 My intent was to open each one of
 6   these to provide the details from the calendar
 7   view, and it may not all have copied.
 8           Q.    When you prepared this information
 9   for your complaint in this case, did you still
10   have electronic -- when you were drafting that
11   original complaint to the case, did you still
12   have access to the electronic Google Calendar
13   records that -- some of which you printed off
14   here?
15           A.    My access to the Google Calendar
16   ended in February of 2012, I believe.
17           Q.    Okay.       So did you prepare for the
18   Complaint the list of patient and device check
19   events that we see in the complaint after
20   February 2012?
21           A.    Yes.
22           Q.    So you relied on something other
23   than the electronic Google Calendar in order to
24   make the chart that we see on page 19 of
25   Exhibit 7; right?

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                                                                      Page 240
 1                       CATHLEEN FORNEY
 2        A.       I relied on the pictures I took.
 3        Q.       Okay.       Which are in Exhibit 9?
 4        A.       These are samples of them, yes.
 5        Q.       Are there more of these that you
 6   have that are not included in Exhibit 9?
 7        A.       I don't know.
 8                 MS. MAYER:           Susan, do you know
 9        whether you produced all of the Google
10        Calendars that Ms. Forney collected?
11                 MS. BURKE:           I believe we did, both
12        in hard copy and electronic, but I can
13        double-check.
14                 THE WITNESS:             Yeah.
15                 MS. MAYER:           By "electronic," you
16        mean, like, a .pdf of this paper printout;
17        right?
18                 MS. BURKE:           I need to -- I cannot --
19        I cannot, as I sit here today, recall what
20        the format --
21   BY MS. MAYER:
22        Q.       Okay.       And so the -- so, Ms. Forney,
23   the information that we see in the chart on
24   page 19 in Exhibit 7 either came from the email
25   printouts that we discussed from Exhibit 8 or

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                                                                      Page 243
 1                        CATHLEEN FORNEY
 2   insurer?
 3        A.       No.
 4        Q.       So have we now covered all of the
 5   information you have about -- in support of
 6   your allegation that these providers in the
 7   chart on page 19 of Exhibit 7 submitted claims
 8   for the patients listed there to the Medicare
 9   program?
10                 MS. BURKE:            Object to form.
11                 THE WITNESS:              Yes.
12   BY MS. MAYER:
13        Q.       And so you don't -- you don't
14   actually know that patient AJ was a Medicare
15   beneficiary; right?              AJ could have been a
16   private health insurance beneficiary; right?
17                 MS. BURKE:            Object to form.
18                 THE WITNESS:              The majority of
19        patients with pacemakers and medical
20        devices, high, high probability it's
21        Medicare, just due to the age of the
22        population that's implanted.
23   BY MS. MAYER:
24        Q.       Right.
25        A.       I can't say specifically if that

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                                                                      Page 244
 1                        CATHLEEN FORNEY
 2   patient was 50 years old and private insurance
 3   or Medicaid or Medicare.
 4        Q.       Right.        And the same is true for all
 5   the patients listed on page 19 in that chart;
 6   right?
 7        A.       Correct.
 8        Q.       Okay.       Turning to paragraph 50 of
 9   the Second Amended Complaint, Exhibit 7, on
10   page 20, is the source of the information that
11   we see about Palmerton and Quakertown and
12   Wind Gap, also the snapshotted emails and
13   records that we see in Exhibit 8 that we've
14   already discussed?            And I can direct your
15   attention, for example, to page 01448 of
16   Exhibit 8.
17        A.       Yes.
18        Q.       So these -- do you have any
19   information about who these patients were or
20   what was done in Palmerton or Quakertown or
21   Wind Gap on these dates other than what appears
22   in Exhibit 8 on page 01448?                    Or elsewhere in
23   Exhibit 8?
24        A.       So the device clinic at Palmerton on
25   11/30, a Medtronic individual would show up and

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                                                                          Page 245
 1                       CATHLEEN FORNEY
 2   do six device checks.
 3        Q.       Right.        But other than what you see
 4   here, you weren't at that clinic; right?
 5        A.       Correct.
 6        Q.       And you haven't talked to anybody
 7   about what did or didn't happen at that clinic;
 8   right?
 9        A.       On this date, no.
10        Q.       Right.        And so, hypothetically, all
11   six device checks could have canceled that day;
12   right?
13        A.       Correct.
14        Q.       And there's no information here
15   about insurance; correct?                  So, hypothetically,
16   all of these patients could have been self-pay;
17   correct?
18        A.       Correct.
19        Q.       I'd like to turn your attention to
20   paragraph 52 on page -- starts on page 21 of
21   the Second Amended Complaint.                      It's Exhibit 7.
22                 Paragraph 52 on page 21 starts
23   listing names and addresses.                     Do you see that,
24   where the first one says, "California," there's
25   a colon, "James T. Heywood"?                     Do you see that?

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                                                                         Page 256
 1                        CATHLEEN FORNEY
 2   Complaint in this case?
 3        A.       Yes.
 4        Q.       Have you provided any documents to
 5   the government in addition to the documents
 6   referenced in either the original Complaint,
 7   the First Amended Complaint or the Second
 8   Amended Complaint?
 9        A.       Not to my knowledge.
10                 MS. MAYER:           I'd like to mark this as
11        Exhibit -- what are we up to now, 10?
12                 (Forney Exhibit 10, Email
13        communication, 5-4-10, with attachment,
14        Bates MDTEPA-92769 to 778, was marked for
15        identification.)
16   BY MS. MAYER:
17        Q.       Ms. Forney, I'm showing you what's
18   been marked as Exhibit 10.                     It's a document
19   that begins with Bates number MDTEDPA00092769.
20                 Do you see this?
21        A.       Uh-huh.
22        Q.       It's an email from Brian Dye to
23   Patricia Meyer, copying you.                     Do you see that?
24        A.       Yes.
25        Q.       And the subject is -- and it's

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